Case 2:20-cv-02586-GW-E Document 130-1 Filed 02/10/22 Page 1 of 7 Page ID #:762




                EXHIBIT A
Case 2:20-cv-02586-GW-E Document 130-1 Filed 02/10/22 Page 2 of 7 Page ID #:763



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                           UNITED STATES DISTRICT COURT
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                          CENTRAL DISTRICT OF CALIFORNIA
    9
      ARCONIC INC.; MACOM                           CASE NO. 2:20-CV-02586-GW
   10 CONNECTIVITY SOLUTIONS, LLC (f/k/a
      APPLIED MICRO CIRCUITS                        [PROPOSED ]CASE
   11 CORPORATION); BASF CORPORATION;               MANAGEMENT AND
      BAXTER HEALTHCARE CORPORATION;                SCHEDULING ORDER
   12 C. T. L. PRINTING INDUSTRIES, INC.;
      CALIFORNIA HYDROFORMING
   13 COMPANY, INC.; COLUMBIA                         1. Discovery Cut-Off:
      SHOWCASE & CABINET COMPANY,
   14 INC.; CROSBY & OVERTON, INC.;                      03-11-2024
      DISNEY ENTERPRISES, INC.; FHL                      ________________
   15 GROUP; FORENCO, INC.; GENERAL
      DYNAMICS CORPORATION; HERCULES
   16 LLC (f/k/a HERCULES INCORPORATED);              2. Final Pretrial Conference:
      HEXCEL CORPORATION; HONEYWELL
   17 INTERNATIONAL INC.;                                04-15-2024
      INTERNATIONAL PAPER COMPANY;                       ________________
   18 LOS ANGELES COUNTY
      METROPOLITAN TRANSPORTATION
   19 AUTHORITY; MASCO BUILDING                       3. Trial:
      PRODUCTS CORPORATION; MATTEL,
   20 INC.; MERCK SHARP & DOHME CORP.;
      PILKINGTON GROUP LIMITED; QUEST                    05-20-2024
   21 DIAGNOSTICS CLINICAL                               ________________
      LABORATORIES, INC.; RAYTHEON
   22 COMPANY; SAFETY-KLEEN SYSTEMS,
      INC.; SOCO WEST, INC.; SPARTON
   23 TECHNOLOGY, INC.; THE BOEING
      COMPANY; THE DOW CHEMICAL
   24 COMPANY; TRIMAS CORPORATION;
      AND UNIVAR SOLUTIONS USA INC.,
   25
                       Plaintiffs,
   26
                  v.
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                    CASE MANAGEMENT AND SCHEDULING ORDER
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Case 2:20-cv-02586-GW-E Document 130-1 Filed 02/10/22 Page 3 of 7 Page ID #:764


      CAL-TRON PLATING, INC.; DENNIS
    1 O’MEARA; ELECTRONIC CHROME &
      GRINDING CO., INC.; DUNCAN
    2 INDUSTRIES, INC.; HALLIBURTON
      ENERGY SERVICES, INC.; MID-WEST
    3 FABRICATING CO.; OMEGA CHEMICAL
      CORPORATION; SANTA FE RUBBER
    4 PRODUCTS, INC.; SUNRISE
      PROPERTIES, LLC; AND VANOWEN
    5 HOLDINGS, LLC; AND DOES 1 – 250,
      INCLUSIVE,
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                     Defendants.
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                    CASE MANAGEMENT AND SCHEDULING ORDER
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Case 2:20-cv-02586-GW-E Document 130-1 Filed 02/10/22 Page 4 of 7 Page ID #:765



    1        With this Case Management and Scheduling Order, the Court orders the
    2 following concerning the dates and procedures in this case. Counsel are ordered to
    3 be completely familiar with the Federal Rules of Civil Procedure, the Local Rules of
    4 the Central District of California, and the Judge’s Procedures and Schedules posted
    5 by these Chambers on the Central District website at www.cacd.uscourt.gov.
    6        1.     Lifting of the Stay. The Stay of this matter issued on June 26, 2020 is
    7 lifted as of the effective date of this Order.
    8        2.     Rule 26 Disclosures. The parties shall make all required Rule 26(a)(1)
    9 disclosures on or before 45 days after the effective date of this Order pursuant to the
   10 agreement reached by        the parties regarding Plaintiffs’ past response costs as
   11 described in the November 15, and December 13, 2021 Joint Reports to the Court.
   12        3.     Discovery. The Court sets a discovery cut-off on March 11, 2024, the
   13 date stated in the caption and the accompanying summary table of this Order.
   14        The following discovery schedule shall apply.
   15               4.1.   Depositions. All non-expert deposition shall occur on or before
   16 the discovery cut-off date. A non-expert deposition which was started on or before
   17 the discovery cut-off date may continue beyond the cut-off date, if reasonably
   18 necessary for completion.
   19               4.2.   Other Discovery. All interrogatories, requests for admission,
   20 requests for production, or thelike, shall be served at least forty-five days before the
   21 discovery cut-off date. The Court will not approve stipulations between counsel that
   22 permit discovery responses to be served after the cut-off date except in unusual
   23 circumstances and upon a showing of good cause.
   24               4.3.   Discovery Motions. Generally, the Magistrate Judge assigned to
   25 this case shall hear all discovery motions. Discovery motions shall be filed and
   26 served as soon as possible and never later than 30 days after the discovery cut-off
   27 date. The parties shall strictly comply with the requirements of all Local Rules in
   28 preparing and filing Discovery Motions. The Court expects counsel to resolve most

                     CASE MANAGEMENT AND SCHEDULING ORDER
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Case 2:20-cv-02586-GW-E Document 130-1 Filed 02/10/22 Page 5 of 7 Page ID #:766



    1 discovery problems among themselves in a courteous, reasonable, and professional
    2 manner.     Frequent resort to the Court for guidance in discovery is generally
    3 unnecessary.
    4                4.4.   Expert Discovery. The discovery cut-off provisions in this Order
    5 include expert discovery, except as here provided or otherwise ordered by the Court.
    6 Unless the parties otherwise stipulate in writing and obtain the Court’s approval, the
    7 Court orders the sequence of discolsure as provided by Fed.R.Civ.P. 26(a)(2)(D),
    8 except that the initial disclosure shall occur at least 120 (not 90) days before trial,
    9 and if an expert is identified under Fed.R.Civ.P 26(a)(2)(D)(ii), any deposition of
   10 such expert shall occur as soon as reasonably possible, but may occur after the
   11 discovery cut-off date.
   12        4.      Final Pretrial Conference. The Court sets a Final Pretrial Conference
   13 under Fed.R.Civ.P 16 on April 15, 2024, as stated in the caption and the
   14 accompanying summary table of this Order. The parties are ordered to comply strictly
   15 with the requirements of all Local Rules at Local Rule 16 et seq. The proposed Final
   16 Pretrial Conference Order shall be in the format set forth in Appendix A to the Local
   17 Rules, and state the settlement procedure that was followed.
   18        5.      Joinder and Amendment Motions. Absent good cause, any motion to
   19 join another party or to amend a pleading shall be filed and served on or before August
   20 14, 2023, as stated in the accompanying summary table of this Order.
   21        6.      Summary Judgment or Partial Summary Judgment Motions.              Such
   22 motions shall be noticed for a hearing occurring not less than March 18, 2024, 28 days
   23 before the Final Pretrial Conference, unless otherwise allowed by the Court.
   24        7.      Settlement. In every case, if the parties and attorneys are unable to
   25 resolve the matter on their own, the Court requires a settlement conference before an
   26 independent settlement officer be conducted on or before March 25, 2024, as reflected
   27 in the accompany summary table to this Order. Counsel may agree on an appropriate
   28 procedure, such as a settlement conference with the Court Mediation Panel or a

                      CASE MANAGEMENT AND SCHEDULING ORDER
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Case 2:20-cv-02586-GW-E Document 130-1 Filed 02/10/22 Page 6 of 7 Page ID #:767



    1 private mediator.
    2        8.    Trial. The Court sets a trial date of May 20, 2024, as stated in the caption
    3 and the accompanying summary table of this Order.
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    5 IT IS SO ORDERED.
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    7 Dated: __________, 2022
    8
    9                                         _______________________________
                                                       GEORGE H. WU
   10                                         UNITED STATES DISTRICT JUDGE
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                    CASE MANAGEMENT AND SCHEDULING ORDER
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Case 2:20-cv-02586-GW-E Document 130-1 Filed 02/10/22 Page 7 of 7 Page ID #:768



    1                             JUDGE GEORGE H. WU
    2                SCHEDULE OF TRIAL AND PRE-TRIAL DATES
    3
    4                    Matter                        Time        Weeks      Court Order
    5                                                            Before Trial
        Trial (jury)
    6   Estimated length: est 24 days                9:00 a.m.               05-20-2024
    7   Court Trial                                  9:00 a.m.               05-20-2024
        Hearing on Motions in Limine; Hearing
    8   on Disputed Jury Instructions                  TBD           -1      05-06-2024
    9   Pre-Trial Conference                                         -4      04-15-2024
        File submittals required by Sec. 3 of
   10   Standing Order Re Final Pre-Trial                                    04-10-2024
   11   Conferences
        File Oppositions to Motions in Limine                                04-08-2024
   12   File submittals required by Sec. 2 of
   13   Standing Order Re Final Pre-Trial                                    03-25-2024
        Conferences
   14
        File Motions in Limine                                               03-25-2024
   15   Last date to cconduct Settlement                             -8      03-25-2024
        Conference
   16
        Last day for hearing motions                 8:30 a.m.       -9      03-18-2024
   17   Discovery cut-off [Note: Expert disclosure
   18   no later than 70 days prior to this date.]                   -10     03-11-2024
        Last day to Amend Pleadings or Add                           -40     08-14-2023
   19   Parties
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                    CASE MANAGEMENT AND SCHEDULING ORDER
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